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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
SOUTHERN DIVISION

MARGUERITE CARRUBBA PLAINTIFF
V. CIVIL ACTION NO. 1:07CV 1238

HARRISON COUNTY, MISSISSIPPI BY AND

THROUGH ITS BOARD OF SUPERVISORS;

HARRISON COUNTY SHERIFF GEORGE PAYNE;

WAYNE PAYNE; DIANE GATSON RILEY;

STEVE CAMPBELL; RICK GATSON; RYAN TEEL;

KARLE STOLZE, WILLIAMS PRIEST, JAMES A.

GONDLES, JR. AMERICAN CORRECTIONAL

ASSOCIATION; JOHN AND JANE DOES 1-3;

HEALTH ASSURANCE LLC AND J. L. WHITE DEFENDANTS

STATE OF MISSISSIPPI
COUNTY OF HARRISON

AFFIDAVIT OF TRISH MISKO

PERSONALLY CAME AND APPEARED BEFORE ME the undersigned authority in and
for the County and State aforesaid, the within named, TRISH MISKO, who, after first being duly
sworn by me on his oath, did depose and state the following:

1. My name is TRISH MISKO , and I am over the age of twenty-one (21) years. I have
personal knowledge of the matters and facts contained in this Affidavit and I am
competent to testify to the matters stated herein.

2. Contained in one of the 5 [A boxes the United States Department of Justice returned

to the Harrison County Adult Detention Center, which were stored here at the offices

EXHIBIT

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WwRt

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of Dukes, Dukes, Keating & Faneca, P.A. was Steve Campbell’s IA notebook.

3, This notebook contained a one line listing of the IA number, names of those
involved, date of the investigation of all IA investigations that were performed from
the year of 2003 to 2007.

I certify the above declaration is true and correct under penalty of perjury.

Alitalh Uh] WHO?

A Me Misko
‘Harrison County, Mississippi

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Sworn to and subscribed before me on this the | AY day of October, 2009.

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Notary Public x OD
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BY PUR Mae.

My Cont ssion Reps:
° ID # 61916 ,

STACEY SCHULTZ :

(SEAL bommission Expires roe
, Feb. 3,209 aw a

